Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 1 of 27

uicksilver Resources, inc. et al.

Berkeley Research Group, LLC
Exhibit A: Time Detail

Date Professional Hours Description

(01. Asset Acquisition/Disposition

8/31/2015 J. Song 2.0 Continued to review analysis of implications of asset sale.

8/31/2015 J. Song wed analysis of implications of asset sale.

8/31/2015 M. Shankweiler 1.1 Commented on Paul Weiss memo re: sale process.
8/31/2015 J. Song. - - 1.0 2 Reviewed Paul Weiss’ sale process memo.
9/1/2015 D. Demko 2.8 Reviewed the Paul Weiss’ sale process memo in order to prepare an

update presentation.

9/1/2015 RR. Wright

Reviewed Paul Weiss memo re: sale process imp

9/1/2015 J. Song 0.5 Reviewed subsequent version of analysis of implications of asset sale.

9/3/2015 ©. Kearns 03 Outlined key issues

9/9/2015 Reviewed risks and opportunities related to restructuring alternatives.
9/10/2015 : _ Reviewed proposed bidding procedures for sale of Debtors! asset
9/10/2015 Reviewed risks and opportunities related to restructuring alternatives.
9/10/2015 | Commented on presentation Te: case as for UCC call.
9/11/2015 Reviewed the bidding procedures draft to stay updated on recent case
filings.
: 9/ 11/2015) R. Wright | : 0.5 : | _ Reviewed draft bid procedures re asset sale.

9/11/2015 M. Shankweiler 0.4 Reviewed draft bidding procedures document presented by Debtors.
9/12/2015 J. Song

9/14/2015 R. Wright

9/15/2015 M. Shankweiler

9/17/2015 M. Shankweiler 1.1 Reviewed bidding procedures re: potential auction of assets.

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 2 of 27

Date Professional Hours Description

101. Asset Acquisition/Disposition

9/17/2015 OR Wright : : 0s : Participated ina call with the Committee re: bidding procedures.

9/22/2015 M. Shankweiler 1.3 Reviewed draft purchase agreement documents.

9/22/2015 I, Song _ ed proposed response to Debtors’ bidding procedures

9/22/2015 C. Kearns 0.2 Emailed with Moelis and Counsel re: gathering and processing contract
and plan issues.

9/23/2015 / 6 ; Song. . Reviewed Debtors: proposed asset purchase agreemen

9/24/2015 R. Wright 1.0 . Reviewed the Committee's draft response to the Debtors! bidding
procedures.

9/24/0015 : : : 08 Reviewed the Debtors bidding pyoceauies jes process.

9/24/2015 M. Shankweiler 0.7 Reviewed documents re: asset sale process.

9/24/2015 S M. Shoakedes oo : / 0.6 : Connon on drat response of. Committee regarding the draft b

procedures: and asset ee

9/24/2015 R. Wright 0.6 Participated in a call with the Committee re: bidding Procedures.

9/29/2015 J. Song.

Participated in wecane with UCC advisors @aul Weiss and Moet to
discuss plans to address a possible credit bid, SS

Task Code Total Hours

05. Professional Retention Fee A

8/6/2015 M. Haverkamp 1.2 Drafted the first interim fee application.

8/1/2015 R. Wright pared interim fee application.

8/7/2015 M. Haverkamp 0.5 Drafted Quicksilver interim fee application.

8/8/2015 R. Wright Prepared first interim fee application,

8/11/2015 M. Haverkamp 1.2 Edited first interim fee application.

8/12/2015 : pared interim fee application:

8/12/2015 0.2 Reviewed interim fee application summary.

8/12/2015

Finalized interim fee application for filing.

8/13/2015 M. Haverkamp 1.2 Prepared BRG June fee application.

Berkeley Research Group, LLC Page 2 of 27
invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 3 of 27

Date Professional Hours

Description

05. Professional i

Retention Fee App

ication Preparation.

8/19/2015 M. Haverkamp 0.5

8/21/2015 : M. Haverkamp S

8/24/2015 M. Haverkamp 1.3
8/26/2015. M. Haverkamp 04.
9/1/2015

M. Haverkamp 1.0

92/2015 C. Ringer __

9/23/2015 M. Haverkamp 2.6
9/23/2015. .
9/24/2015 M. Haverkamp 2.4
9/25/2015 M. Hayerkamp

9/29/2015 —-R. Wright - 1.2
9/29/2015. M. Haverkamp S

g/29n01s M. Haverkamp 0.8
9302015 R.Wright a1
9/30/2015 M. Haverkamp 0.9
Task Code Total Hoi ie 27.2

2 ‘Prepared June BRG fee application.
Prepared June BRG fee application.

Provided case director wi
-fee examiner for review.

__ Prepare

oS Prepared June fee application.

Prepared BRG June fee application.

Prepared June BRG fee application.

Prepared June fee application.

Prepared June fee application.

A ne fee. application. : - :
Prepared July fee application.
bene July fee application.
Prepared J une fee application.

Prepared July fee application.

Prepared June fee application.

Edited June fee application based on comments from professional staff.

07. interaction/Meetings with Debtors/Counsel

8/4/2015 R. Wright 0.5

8/18/2015 __M. Shankweile

8/18/2015 C. Kearns 0.3

2.1 :
8/19/2015 13
8/19/2015. « 02

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period

Prepared an updated di

Participated in a call with Deloitte (C. Kennedy) re: open requested
items.
Participated in wee dat
professionals re: operational updates.

Participated on weekly status call with the Debtors.

ice request list to be sent to

Page 3 of 27
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 4 of 27

Date Professional Hours Description

| 07. interaction/Meetings with Debtors/Counsel

8/24/2015 J. Song 0.5 _ Participated in due diligence call with Debtors to discuss West Texas
wells.

8/25/2015 _ / R. Wright a. O4 a Participated ina call with Deloitte (C: Kennedy) ie request list update. [

8/25/2015 Cc. Kearns a 02 Reviewed latest list of open due diligence items.

8/25/2015 , : 01 Participated { in weekly update cail with Debtors and Akin: Jin Gump re
Operations npdale : : =

8/25/2015 C. Kearns 0.1 Participated on short status call with Debtor.

8/26/2015 cc Kearns S 8 _ Reviewed Debtors’ response to latest diligence equcse:

9/10/2015 C. Kearns 03 Participated in call with Paul Weiss and Moelis to review presentation

for Committee on strategic alternatives.

Prepared a follow up diigiee request of of reports to be sent to.

9/15/2015 DD. Demko
ee SS ee : the Debtors.

9/21/2015 Prepared a request list re: QRCI.

9/22/2015 R. Wri

9/22/2015 M. Shankweiler 0.4 Participated in weekly call with Debtors and Debtors professionals re:
case update.

Task Code Total Hours es

08, Inferaction/Meetings

8/4/2015 R. Wright 0.3 Participated in a call with Counsel (A. Rosenberg) re: preparation for
call with Debtors.
9/4/2015 C. Kearns -. 0.1 _ Emailed with team re: case status.

8/6/2015 M. Shankweiler 0.6 Participated in weekly UCC update call re: case issues.

8/6/2015

: discuss s yeluation waterfall.

SS

8/6/2015

0.3 Participated in precall to weekly Committee call with Committee
professionals.

the Committe

8/6/2015
ttee call.
8/13/2015 J. Song 0.5 Held conference call with S. Kim at Ares regarding potential plans
related to restructuring.
Berkeley Research Group, LLC Page 4 of 27

Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 5 of 27

Date Professional

Hours

Description

08. Interaction/Meetings with Creditors

8/13/2015 —_C. Kearns
8/21/2015 C. Kearns

8/21/2015 J. Song

8/24/2015 C. Kearns

8/25/2015 R. Wright
8/25/2015 M. Shankweiler
8/25/2015 Oe

8/25/2015 R. Wright

8/27/2015 M. Shankweil

8/27/2015 M. Shankweiler

8/28/2015 GC. Kearns

8/31/2015 C. Kearns
912015
9/3/2015 C. Kearns

9/3/2015 M. Shankweiler
9/3/2015 C. Kearns

9/4/2015.
9/4/2015 C. Kearns

9/4/2015

Berkeley Research Group, LLC

Invoice for the 8/1/2015 - 9/30/2015 Period

0.4

0.3

0.3

0.2

0.4

0.3

0.6

0.6

0.3

02

, Participated i ina precall with Counsel (A. Rosenberg) te: poeta for.
~ eall with the Debtors.

Panicipated in eal status coal with Paul Weiss and Moelis to.
: discuss Case status and cuca path {tO exil. S

Moelis) to UCC weekly update call re: case strategy.

debrief a after b

Participated i in meeting wath member of UCC (S. Kim of Aw to /

discuss case. strategy.

ee L

Participated on status call with Committee professionals... :

Participated in status call with Paul Weiss and Moelis.

Participated in call wid UCC Advisors (Paul Weiss, Moelis)
preparation for update call with UCC to discuss contraet neg
and litigation regarding challenge period.

Emailed with Counsel re: status of case.

Participated in pre-call to UCC call with professionals (Paul Weiss and
Moelis) re: case issues.

Participated in a call with Counsel (R. Brennan) re: agenda for 8/27
Committee call.

. oy in weekly UCC update call re: case status and Commitiee
issues. :

Participated in pre-call with Committee professionals (Paul Weiss and

erence all with A. Rosenbere (Paul
iness oe call and discuss next steps.

Reviewed draft memo from Counsel re: plan alternatives.

discuss potential restructuring scenarios.

Pre-meeting preparation with Moelis and Paul Weiss.

Participated in post meeting debrief with the Committee on next steps.

Developed discussion outline for report to UCC re: case strateg

Outlined key issues for Committee path to exit.

Page 5 of 27
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 6 of 27

Date

Professional Hours Description

O8. Inieraciion/Meelings with Creditors

9/8/2015 J. Song 0.5 Participated in meeting with UCC advisors (Paul Weiss and Moelis) to
discuss financial deliverables that UCC should receive.

9/8/2015... R. Wright . 03 ae Participated i in a call with Moelis (&. Voelte) te: deliverables for 9/ LL

HES = bol Ene S : : Committee meeting. oe .

9/8/2015 M. Shankweiler 0.3 Participated in call with UCC professionals re: plan issues.

9/8/2015 0.3 Participated in status call with Counsel and Moelis Te: ee exit
pals

9/9/2015 C. Kearns 0.5 Reviewed draft presentation for UCC on critical path in the case and
provided comments.

9/10/2015 J, Song

9/10/2015 R. Wright 0.3 Participated in a call with Counsel (A. Rosenberg) re: agenda for 9/11
Committee call.

9/10/2015 e. Kearns 0.3 Reviewed final draft presentation & to ucc on Strategic alternatives and .

ee related paths. ao

9/11/2015 C. Kearns 1.1 Participated in call with Committee to review exit alternatives.

9/11/2015 M. Shankweiler oe See LL Participated in call with UCC and professionals re: case strategy.

9/11/2015 J. Song 1.0 Participated in meeting with UCC to discuss restructuring strategies.

‘9/11/2015 M. Shankweiler_ Developed talking points for UCC calll re: case strategy.

9/15/2015 M. Shankweiler Discussed inter-creditor case issues with Moelis (K. Voelte).

9172015. MShaneweiler = 0S

9/17/2015 J. Song 0.3 Participated in meeting with UCC advisors (Paul Weiss and Moelis) to
discuss possibility of a sale of the company:

9/17/2015 J.Song

9/17/2015 M. Shankweiler 0.2 Participated in pre-call to weekly Committee call re: case update with
UCC professionals.

9/21/2015 C. Kearns note to Moelis and Paul Weiss re: POR questions raised by a |

9/21/2015 C. Kearns Participated in a call with Moelis and Paul Weiss (R. Flachs, A.
Rosenberg) to discuss possible POR related questions raised by
members of the UCC.

Berkeley Research Group, LLC Page 6 of 27

Invoice for the 8/1/2015 - 9/80/2015 Period

Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 7 of 27

Date Professional Hours

Description

08. Interaction/Meetings with Creditors

0 asel re: changes to bond holdings.

9/23/2015 C. Kearns 0.2
9/24/2015 C. Kearns 0.5 Participated in a call with Moelis and designees for certain note holders
re: status of the case and 363 sale calendar.
9/24/2015 dA. Song : 0.4 Particibated i in vinectie wh vec to Ges new w developments
Oe : regarding contracts and constituents. . eee
9/24/2015 C. Kearns 0.3 Participated in portion of call with the Committee re: sale motion and
gathering and processing contract.
9/24/2015. M. Shankweiler 0.2 Participatedin pre-call to UCC weekly call with UCC profess
oe agenda for UCC call.
9/29/2015 R. Wright 0.5 Participated in a pre-call with case professionals re: agenda for call
with the Debtors.
Task Code TotalHours 21.5
10. Recovery/SubCon/Lien Analysis
8/3/2015 D. Demko 2.8 Reviewed the Debtors’ response to follow up lien review questions.

8/3/2015 M. Shankweiler

8/3/2015 M. Shankweiler 0.5
83/2015 M. Me Shankweler ae,
8/6/2015 R. Wright 1.2
8/6/2015° :

8/6/2015 —-R. Wright 0.7
8/6/2015

8/12/2015 RR. Wright

8/13/2015 C. Kearns

8/13/2015 J, Song

Berkeley Research Group, LLC
invoice for the 8/1/2015 - 9/30/2015 Period

is.

05

fe: lien issues.

Analyzed illustrative waterfall SS prepay by loelis n
preparation for Committee call.

Reviewed illustrative recovery an
= Committee advisors.

overall update.

Piieipatea in :
_ with UCC to discuss lien investigatio “and recent 100 ne -

a in call with Debtors (V. Li

Participated in call with Moelis and Landis Rath & Cobb (M. McGuire)
te: lien review issues.

Reviewed lien review summary prepared by Counsel.

Reviewed Moelis recovery analysis.

Participated in a call with the Committee re: recoveries.

Participated in call with Committee re: lien searches, liquidity and

Page 7 of 27
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 8 of 27

Date Professional Hours Description

10, Recovery/SubCon/Lien Analysis

8/17/2015 D. Demko 1.6 Reviewed a well listing from Landis Rath & Cobb in order to compare
it the well listing received from the Debtors.

8/18/2015. M. Shankveiler 7 04 Reviewed lien analysis report prepared by Landis Rath Cobb.

8/21/2015 C. Kearns 0.2 Reviewed first lien stipulation.

cessary information items for furth

8/24/2015... .Sone rmined nec

8/25/2015 M. Shankweiler 0.6 Participated in call with Moelis (K. Voelte) re: valuation and len
review issues.

8/26/2015. R. Wright - : oo. 05 . Reviewed QRCI recovery ee . the Debtors.

8/27/2015 R. Wright 1.0 Reviewed QRCI recovery analysis prepared by the Debtors.

8/27/2015. oe 03 Looe update te lien stipulation.

8/31/2015 M. Shankweiler 0.4 Discussed analysis of waterfall with Moelis (K. Voelte).

8/31/2015 __ R Wright — ] 3 Participated i ina portion of a call with Moelis (K. Lastapes) ie
ee . ee : cay waterfall. ae

8/31/2015 J. Song 0.3 Participated in call with UCC advisors (Paul Weiss, Moelis) to discuss
potential asset allocation waterfall.

8/31/2015. C. Kearns. Se llustrative recovery waterfall.
9/1/2015 M. Shankweiler 19 Commented on memo prepared by Paul Weiss re: claims recovery

analysis.

9/1/2015 a C, Kearn : Commented on draft memo fom Paul Weiss on recovery related iss es.

9/1/2015 R. Wright 0.7 Reviewed Quicksilver recovery waterfall.
9/1/2015" oM Shankweiler_ 06 Participated in discussion with Moelis (K. Voelte) re: waterfall analys

9/1/2015 M. Shankweiler 0.5 Participated in call with Counsel (Paul Weiss and Landis Rath & Cobb)
and Moelis (K. Voelte) re: claims recovery analysis.

9/1/2015 0.5 __ Participated in call with Moelis (K. Voelte) re: recovery wat

9/1/2015  C. Kearns 0.5 Participated in call with Paul Weiss and Moelis to discuss illustrative
recovery waterfall.

9/1/2015 Panicipated: incall with UCC advisors (Paul Weis

asset allocation waterfall.

9/3/2015 D. Demko Reviewed a waterfall recovery analysis.

Berkeley Research Group, LLC Page 8 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 9 of 27

Date

Professional Hours

Description

10. Recovery/SubCon/Lien Analysis

9/3/2015

9/8/2015
9/9/2015

9/9/2015

9/11/2015

9/11/2015

9/14/2015

9/15/2015

9/16/2015,

9/16/2015

9/17/2015 —

9/18/2015

9/22/2015

9/24/2015
9/28/2015

9/30/2015

Task Code Total Hours

a Song : S ee sk :
J. Song. 23
7 Sone . ee
M. Shankweiler 04

2

R. Wright
M. Shankweiler 13
J.Song 0s
J. Song 0.5

13

0.3
J. Song oe 15
J. Song 1.0

M. Shankweiler 0.8

C. Kearns

J. Song 1.0

5. ae

_ Continued to review Debtors’ sale motion re: UCC recoveries.

02

Assessed potential allocations of value in Debtors’ future restru turing.

Analyzed potential recoveries in restructuring scenarios.

Analyzed potential recoveries in restructuring’scenarios.

Participated in call with Moelis (K. Voelte) re: claims impact on
waterfall.

Reviewed Canada due diligence package provided
TECOVELIES. .

Reviewed report by Landis Rath & Cobb to UCC re: lien review
investigation.

Reviewed new iteration of UCC's motion to extend challenge period,

Reviewed QRCI's reserve report to understand current market value in
terms of reserves.

Reviewed Debtors’ sale motion re: UCC recoveries.

Reviewed QRCI's new forbearance agreement.

Reviewed Debtors' 8K SEC filings regarding forbearance agreement
and bidding procedures.

Reviewed the Committee demand to Debtors to file certain acti
letter in or ay updated on case filings.

Reviewed letter re: demand for Debtors to assert and prosecute claims
re: second lien claims.

obb) ret second lien obj

Reviewed Second Lien's objection to motion to extend challenge
period to understand Second Lien's desire for shorter period.

11, Claim Analysis/Acco

8/12/2015

8/13/2015.

R. Wright 1.9

R, Wright

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period

Reviewed claims filed as of the bar date - 7/31/15.

Reviewed claims filed as of the bar date - 7/31/15. e

Page 9 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 10 of 27

Date Professional Hours

Description

11. Claim Analysis/Accounting

8/27/2015 D. Demko 2.8

Reviewed the Debtors' potential gathering and processing counterparty
claims analysis.

CC . 1.0 Reviewed claims analysis re: KKR claims.

8/27/2015 C. Kearns a4 Reviewed Debtors' summary of Canada claims.
Task Code Total Hours - : a -

| 12. Statements and Schedules

8/25/2015 R. Wright 0.9 Reviewed the Debtors’ statements of financial affairs.
Task Code Total Hours 2 oS

|14. intercompany Transactions/Balances

8/31/2015 R. Wright 0.7

9/1/2015 -D. Demko

9/14/2015 D. Demko

9/18/2015

Task Code Total Hours,

- Reviewed the inter

21

intercompany note.

Reviewed Quicksilver intercompany note terms and conditions.

pany note ccna in ie data room
delamine ihe recent interco

Reviewed the intercompany account transactions over the last 5 years
for any potential fraudulent conveyances.

Reviewed data provided re; ORCI business plan re: value of

14, Executory Coniracts/Leases

8/4/2015 J. Song 0.5
g/4/2015 «RR. Wright 04.
8/10/2015 C. Kearns 0.2

8/11/2015
8/18/2015

8/18/2015

8/18/2015 R. Wright 0.3

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period

Participated i in a call with the Debtors (V. EaGala) Te: oe .

Participated in update call with Debtors to discuss status of business
and contract negotiations.

negotiations:

a NRE SEE EE

Debriefed on current status of discussion with a gathering and
processing counterparty.

th the Debtors (V. LaGatta) re: co

Participated in update call with Debtors to discuss negotiations with
gathering and processing counterparty.

Reviewed gathering ; and processing contract negotiation documents
provided by ie Debtors.

Participated in a call with the Debtors re: contract update.

Page 10 of 27
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 11 of 27

Date Professional Hours Description

14, Executory Contracis/Leases

8/18/2015

8/21/2015

8/21/2015

8/24/2015

8/25/2015

8/25/2015

8/25/2015

8/27/2015

8/27/2015

9/22/2015
9/24/2015
9/29/2015
9/29/2015
9/29/2015

9129/2015

9/30/2015

9/30/2015

Task Code Total Hours

C. Kearns

R. Wright

R. Wright

J. Song

R. Weight -

D. Demko

J. Song

R. Wright

J. Song

C. Kearns

D. Demko

C. Kearns

weiler

eh

0.3

0.6

0.5

LO

0.3

01

2.7

0.5
08

0.6

0.5
03

2.9

030

o Panicipaied | ina call with: the Debtors (Vv. LaGatta) re

negotiation Proposal received from the Debtors.

: Panicle in call with uec savin (Paul Wei

Papa ina call with the. Debtors (V. LaGatta) re: contract
eo a 8 eee

Reviewed summary of gathering and processing contract negotiations.

Participated in a call with the Committee re: contract update.

soipnie in 1 weekly updated al with Committee Te! - contrac :
ns and cas o

Participated in a call with the Debtors (V. LaGatta) re: ENI leases.

Evaluated metrics related to Debtors negotiations with a gathering and —
processing counterparty. oe

Participated in update call with Debtors regarding contract negotiations.

negotiations.

Reviewed the Debtors’ gathering and processing counterparty

Moelis) in
preparation for update call with UCC to dees: latest PoDoss from
One of Debtors’ midstream providers oo .

ES

Participated in meeting with the Debtors to discuss latest contract
negotiations and operations.

gathering and processing contract counterparty re: open issues.

Reviewed the Debtors’ contract analysis re: contract extension with a
particular contract counterparty.

.

Participated in meeting with the Debtors to discuss recent
developments regarding contracts.

o RGtened summary of proposal from a particular contract counterparty -

and related emails with Moeélis.

Reviewed the amendment to the ENI joint venture agreement.

Reviewed ENI summary.

17. Analysis of Histor

Berkeley Research Group, LLC

Invoice for the 8/1/2015 - 9/30/2015 Period

Page 11 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 12 of 27

Date Professional . Hours Description

17. Analysis of Historical Results —

8/11/2015 D. Demko 2.9 Prepared a cumulative 2015 balance sheet schedule as part of an update
Presentation.

8/11/2015 D, Demko 2.8 Reviewed the Debtors Q215 10-Q in preparation for creating a ups ite

presentation to the Comuittee.

8/11/2015 D. Demko 2.7 Prepared a Q215 10-Q income statement schedule as part of an update
presentation.

g/11/2015 J. Song

consistency with update eports received by uce,

8/11/2015 D. Demko 2.4 Prepared a cumulative 2015 statement of cash flows schedule as part of
an update presentation to the Committee.

8/11/2015 0.8 Reviewed second quarter 100.

8/12/2015 2.9 Prepared cumulative balance sheet commentary as part of an update
presentation.

8/12/2015 D. Demko. 29 Prepared cumulative statement of cash flows commentary as part of an

_ update presentation for the Committee.

8/12/2015 D. Demko 2.7 Prepared Q2 income statement commentary in connection with the
update presentation to the Committee.
8/12/2015 I. Song S s / : = 18 Analyzed’ impact of gas prices ¢ on current operations, telative to
: oe ee forecasis, : : OS
8/13/2015 D. Demko 2.9 Revised the Q215 income statement commentary for additional

information received from the Debtors.

8/13/2015

8/13/2015 J. Song 1.8 Analyzed 2Q15 performance compared to 1015 performance to
determine trending health of business and business decisions.

8/13/2015 R. Wright 14 Analyzed Quicksilver 6/30/15 10-Q re: operating results. -

8/13/2015 C. Kearns 0.5 Reviewed report for Committee re: liquidity and 2Q results.

‘/14/2015

: a7 Prepared an analysis comparing Q2 to Ol operating €
“aS part ob a liquidity analysis. :

8/14/2015 0.8 Continued to analyze 2Q15 performance compared to 1015
performance to determine trending health of business and business

decisions.

8/18/2015 capac Q215 10K revenue to Q21:

“revenue cash flows in orderto —
xplain any. ceforences a

Berkeley Research Group, LLC Page 12 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 13 of 27

Date Professional Hours Description

17, Analysis of Historical Resulis

8/19/2015 R. Wright 1.8 Reviewed Quicksilver Q2-2015 10-Q re: operating expense run rate.

8/25/2015  M.Shankweiler 0.6 Read Q2 2015 SEC Form 100 te: operational update

8/26/2015 D. Demko 2.8 Prepared a natural gas price movement slide from March through July.

8/26/2015 R. Wright 1.2 Prepared a report for the Committee re: monthly expenses run rate

yee . comparison. : :

8/26/2015 R. Wright 0.6 Prepared a report for the Committee re: natural gas price movements
and their impact on Quicksilver.

8/27/2015 - D. Demko 2 16 rice movement analysis f for edits received:

oe ee io professional statf leac ership. .

8/27/2015 R. Wright 0.4 Prepared a report for the Committee re: monthly expenses run rate
comparison.

9/16/2015 _D. Demko

9/30/2015 oR. Wright 0.6 Prepared request list re: transactions requiring solvency analysis.

Task Code Total Hours 53.3

18. Operating and Other Reports

8/5/2015 D. Demko 1.7 Reviewed the actual capital expenditures through June in connection
with the monthly operating forecasts.

8/17/2015 : D. Demko S 2.6 Reviewed the May operating report and cash allocation i in order: to

ee woe pie an n update presentation. :

8/18/2015 J. Song 2.5 Reviewed Debtors' July 2015 financials, noting differences between
different presentations of the same line items.

8/19/2015 : Continued to reviewed J uly 2015 D nancials, notin

| different presentations ne line items.

8/19/2015 Continued to reviewed July 2015 Debtors’ financials, noting differences
between different presentations of the same line items. _

8/20/2015. Reviewed the July MOR in

: : update presentation.

8/20/2015 Reviewed Debtors' July 2015 operating reports to assess health of
business.

8/20/2015 . 1 Prepared questions on ie J a MOR i in order to follow up with the

Berkeley Research Group, LLC

Invoice for the 8/1/2015 - 9/30/2015 Period

= Debtors.

Page 13 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 14 of 27

Date

Professional Hours Description

18. Operating and Other Reports

8/20/2015 R. Wright 1.2 Analyzed July monthly operating report

8/21/2015 _D. Demko 2

8/21/2015 D. Demko 2.6 Prepared a comparative balance sheet schedule from the July MOR to
be included in an update presentation for the Committee.

8/21/2015 J Song 1.0 Continued to analyze Debtors oy 2015 operating reports 10 assess |

ee ee S fall of business. : : ee

8/21/2015 R. Wright 0.6 Analyzed yuly monthly operating report.

8/25/2015 D. Demko” 28 Prepared ji is MOR cumulative i income statement semen ay as

: ee of an n update pres Ofon

8/25/2015 D. Demko 2.6 Prepared July MOR comparative balance sheet commentary as part of
an update Presentation for the Committee.

8/25/2015 OR Wright 11 Prepeted a sepon for the Committee re: monthly expenses run rate

ee comparison .
8/25/2015 R. Wright 1.0 Analyzed July monthly operating report.
8/26/2015 D, Demko _ Revised the July MORi income paemey, ‘commentary for ¢
2 sceived from pt

8/26/2015 D. Demko 2.7 Revised the July MOR balance sheet schedule for additional
information received from the Debtors.

8/26/2015. R Wright - 18 Prepared a report for the Committee rei July MOR.

8/27/2015 R. Wright 1.0 Prepared a report for the Committee re: July MOR.

9/8/2015  D.Demko _ 5 2.5 Prepared a ORI budget to actual schedule for August a actuals

S an update. presentation, : oe SS

9/8/2015 D. Demko 1.8 Continued preparing a QRI budget to actual schedule for August
actuals as part of an update presentation.

9/15/2015. 05 Reviewed QRCI's July 2105 financial statem

9/21/2015 J. Song 1.5 Reviewed Debtors’ August monthly operating report to assess health of
business.

9/22/2015 29.0 Prepared an August monthly o;
disbursements schedule as pai

Committee.

9/22/2015 D. Demko 2.8 Prepared an August monthly operating report cumulative income
statement schedule as part of an update presentation for the Committee.

Berkeley Research Group, LLC Page 14 of 27

Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 15 of 27

Date Professional Hours Description
18. Operating and Olher Reports
9/22/2015 D. Demko 23° Prepared. an August monthly operating report balance sheet schedu :
ee = part of an update presentation.
9/22/2015 R. Wright 1.3 Analyzed August monthly operating report.
9/24/2015 . 2,7 Prepared an August monthly operating. report cumulative inc me
oe statement commentary as part of an update presentation for the
Committee.
9/24/2015 D. Demko 2.6 Prepared an August monthly operating report balance sheet as part of
an update presentation for the Committee.
9/24/2015, Wright Se 13 Prepared a report re: August monthly operating report.
9/29/2015 D. Demko 2.7 Revised the August monthly operating report income statement
commentary for additional information received from the Debtor.
9/29/2015 D. Demko 25 Revised the August monthly operating feport balance
: commontaty for additional information received from the Debtor. :
9/29/2015 R. Wright 0.6 Prepared report for the Committee re: August MOR.
_ Task Code Total Hours 664

19. Cash Flow/Cash Management Li

8/1/2015 D. Demko 2.5
8/2/2015 27
8/3/2015 2.9
8372015 iE

8/3/2015 J. Song 1.8
8/3/2015 J. Song

8/3/2015 M. Shankweiler 0.8
8/4/2015 27
8/4/2015 D. Demko 2.5

Berkeley Research Group, LLC
invoice for the 8/1/2015 - 9/30/2015 Period

- Developed analysis, a oa credits between secured 4 an
o creditors. : Sees ness

Pepe spated ay schedules for the forecast ending T31/15.

previed fda liquidiy cor ty I the forecast dns TBs.

Prepared a cumulative unencumbered operations cash change graph as
part of a liquidity analysis.

Drafted analysis of cash credits between secured and unsecured
creditors.

Reviewed latest liquidity forecast received from Debtors.

Revised a cumulative cash change graph for additional 4 information

received from the Debtors.

Revised-the cumulative cash change commentary for additional
information received from the Debtors.

Page 15 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 16 of 27

Date Professional Hours Description

19. Cash Flow/Cash Management Liquidity es [ |

8/4/2015 sR. Wright ~ 3 2.4 Continued to prepare a report for the Committee re: liquidity forecast .

oe : a : update. .

8/4/2015 D. Demko 2.3 Revised an unencumbered operations cash change graph for additional
information received from the Debtors.

8/4/2015. CR. Wright So a S a 20 Prepared a report for the Committee re: liquidity forecast update. .

8/4/2015 J. Song 2.0 Continued to draft analysis of cash credits between secured and
unsecured creditors.

8/4/2015 J. Song. Siilace dratt a of cash credits between secured oe

| “unsecured creditors. . :

8/5/2015 D. Demko 2.7 Reviewed the Debtors' capital expenditures budget with an emphasis on
unencumbered wells expenditures.

8/5 /2015 8 Prepared a report for the Committee Te: i qu

8/5/2015 R. Wright 2.0 Commented on proposed interim cash collateral order.

8/5/2015. R. Wright ‘412 ~~ Reviewed first day hearing transcript re: petition date liquidity, |

8/5/2015 C. Kearns 0.1 Reviewed schedule of hedge unwind proceeds.

8/6/2015 D. Demko 23 0 Prepared an actual to budger schedule for July. ORE actuals as a of. a

: 2 _ liquidity presentation for the Committee. :
8/6/2015 D. Demko 1.8 Prepared an actual to budget schedule for July QRCI actuals as part of

a liquidity presentation for the Committee.

 8/6/ } 015 8, Song evened Debtors’ liquidity ends as sof 70/15 to assess ‘current
: oe Operations.
8/6/2015 J. Song Participated in weekly update call with UCC to discuss Company's
7/30/15 cash flow forecast and status of contract negotiations.
8/6/2015 0.4 Reviewed proposed pre-petiti
8/7/2015 D. Demko 2.7 Prepared a weekly 13-week cash forecast schedule for the forecast
ending 8/7/15.
8/7/2015
8/7/2015 J. Song
8/7/2015
8/7/2015 C. Kearns 0.3 Reviewed weekly cash update.
Berkeley Research Group, LLC Page 16 of 27

Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 17 of 27

Date Professional Hours Description

19. Cash Flow/Cash Management Liquidity —

Prepared co ‘or ORI budget to actual variances as pa

8/8/2015 D. Demko ment
update presentation to the Committee.

8/8/2015 D. Demko 2.6 Prepared updated cumulative cash change schedules from March 2015
through the forecast ending 8/7/15.

8/10/2015. ‘J. Song oS oe 23. Continued drafting update report for UCC regarding cash flow fo
8/10/2015 J. Song 1.8 Continued drafting update report for UCC regarding cash flow forecast.
g/10/2015  J.Song- oa 1.5 Drafted update report for UCC regarding cash flow forecast.

8/10/2015 D. Demko 1.2 Reviewed the final cash collateral order to determine the timing of
when the cash flow allocation reports are to be sent by the Debtor.

_ Reviewed diligence request t

8/10/2015 1. Song : 203 Debtors regarding bridging cash flov
: ee Q forecasts. : aoe
8/11/2015 J. Song 2.0 Continued drafting update report for UCC regarding cash flow forecast.

8/11/2015. Wright

8/11/2015 D. Demko 1.8 . Prepared a forecas bridge schedule as part of an update oresentation,
8/1 1/2015 oe ie 2 Researched cash fee that impacted the busines in 2015,
8/11/2015 1.3 Continued drafting update report for voc regarding cash flow forecast
8/11/2015 C. Kearns 0.4 Participated on status call with Debtors re: cash and midstream update.

8/11/2015 ©. Kearns Reviewed latest weekly liquidity summary. .

8/12/2015 R. Wright 2.9 Prepared a report for the Committee re: liquidity update.

8/12/2015. Wright Continued to prey are a report for the Committee re: liqui ity upd:

8/12/2015 D. Demko 2.6 Prepared a comparative forecast bridge commentary as part of a
liquidity update.

8/12/2015. CC regarding cash fl

8/12/2015 13 Continued drafting update report for UCC regarding cash flow forecast.

eviewed he dge runoff schedule.

8/13/2015 R. Wright 2.9 Prepared a report for the Committee re: liquidity update.

Berkeley Research Group, LLC Page 17 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 18 of 27

Date

Professional Hours Description

79. Cash A ow/Cash a ee

8/13/2015

8/13/2015

8/13/2015

8/13/2015
8/13/2015

8/13/2015

8/14/2015

8/14/2015

8/14/2015

8/14/2015

8/17/2015

8/17/2015

8/17/2015

8/17/2015

g/182015

8/18/2015

8/19/2015

8/20/2015

D. Demko ~ 28 ~—SOséPrepareda Goskty io -weer Gch forécast schedule for the forecast

“op. Demko

D. Done

27 Prepared a monthly cash burn schedule from the petition date throu
July. =

R. Wright 2.6 Reviewed lien investigation report prepared by DE Counsel.

J. Song 13 Participated i in weekly update. call with UC uss Debtors’ 8/6, 1s

cash flow for cast and ongomg contract be tions in U.S. and

Cana Q os
R. Wright 1.2 Participated in a call with the Committee re: liquidity update.
R Wright > 2 / - : 04 a : Continued to oe fepot for . Committee re: liquidity update. : |
R. “Wright 0.3 Participated in a pre-call to the Committee call with Committee

professionals re: liquidity update.

ending 8/14/15.
J. Song 2.3 Analyzed Debtors' cash burn rate to estimate recoveries vis-a-vis timing

of a restructuring.

OR Wright Q — 12 Reviewed the Debtors weekly liquidity reporting package.
J. Song 1.0 Reviewed Debtors' liquidity trends as of 8/13/15 to assess state of
operations.
D. Demko. oe : repared updated liquidity schedules for the forecast ending 14/1
J. Song 2.0 Continued analysis of cash credits between secured and unsecured
creditors.
_ J. Song _ Developed analysis of cash credits: Between secured and unsecured :
ee =creditors. .
R. Wright 0.9 Reviewed the Debtors weekly liquidity reporting Package.

= ee ed’ Pchouniberea: versus one sd
- mon y cash allocation report in order to follow up with the Debtors
- on any discrepancies. : oe

D. Demko

J. Song 2.3 Continued analysis of cash credits between secured and unsecured
creditors.

allocation slides
ebtors.

_ Revised the May 2015
information, rece

M. Shankweiler 0.3

D. Demko Prepared a aeelly 13.Week Gosh forecast s hedule |

S ae 8/21/15.

a

Berkeley Research Group, LLC Page 18 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS Doc 861-2 Filed 11/16/15 Page 19 of 27

Date Professional Hours

Description

(19. Cash Flow/Cash Management Liquidity

8/21/2015 RR. Wright 1.8
8/21/2015 - J,Song as
8/21/2015 ‘J. Song 0.8

8/24/2015 R.Weeht

8/24/2015 D. Demko 2.8

8/24/2015 D. Demko 2
8/24/2015 D. Demko 2.6
82472015 = 1Sone 08
8/24/2015 _R. Wright 03
8/24/2015. C. Kearns ee
8/25/2015 D. Demko 2.7
8/25/2015 24
8/25/2015 R. Wright 7
g/25/2015.  J.Song,

8/25/2015 R. Wright 15
8/25/2015 R. Wright 15
8/25/2015 M. Shankweiler 1.2
8/26/2015

8/26/2015 D. Demko 2.8

8/26/2015  -M. Shankweiler - a7

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period

date through the forecast ending 8/21/15.

: i € pared updated liquidity slides for the forecast ending 8p

: Reviewed recent royalty payments.

Prepared quarterly « operating expense run rate Opa commen

fe Commented on draft report to UCC te: liquidity forecast.

Prepared a report for the Committee re: cash flow forecast.

Reviewed Debtors’ liquidity trends as of 8/20/15 to assess: state of . -
operations. :

Participated in weekly update call with UCC to discuss Company's
8/13/15 cash flow forecast and status of contract negotiations.

Prepared. a Teport for the Committee re: liquidity forecast updat

Prepared updated cumulative cash change schedules from the petition

Prepared a cumulative schedule of cash receipts and disbursements in
connection with an update presentation.

Edited presentation regarding Debtors’ liquidity trends and foreca

Reviewed consultation payments for week ending 8/28/2015.

Prepared a quarterly operating expense run rate comparison schedule as
part of a liquidity analysis.

as Spall ofa liquidity analysis.

Prepared a report for the Committee re: analysis of actual and
prospective investment account balances.

Prepared a report for the Committee re: lease operating statements.

Commented on draft report to UCC re: liquidity and operational update.

Prepared a report for Connie re: analysis of actual and.
prospective investment ecco balances.

Revised the December pro forma cash balance analysis for additional
information received from the Debtors.

Page 19 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 20 of 27

Date

Professional Hours Description

|19. Cash Flow/Cash Manageme?

8/26/2015

8/26/2015

8/26/2015

8/26/2015

8/26/2015

8126/2015.

8/26/2015

8/27/2015

8/27/2015

8/27/2015 —

8/27/2015

8/27/2015

8/27/2015

8/27/2015.

8/28/2015

8/28/2015

8/29/2015

8/31/2015

9/3/2015

9/3/2015

C. Kear:

_R. Wright

R. Wright 1.7 Prepared a report for the Committee re: liquidity forecast update.
M. Shankwe é ‘12. Continued to comment on draft UCC report re: liquidity forecast. -
R. Wright 1.2 Prepared a report for the Committee re: allocation of cash flow between

encumbered and unencumbered wells.

J. Song 2 5 . 0.8 = : Reviewed stipulation for the — ue of the /elalense period related
: to’ cash collateral, S

C. Kearns 0.7 Reviewed draft report for UCC on liquidity update, LOS analysis and
preliminary thoughts on use of cash collateral.

J. Song 05 © Reviewed presentation regarding Debtors’ liquidity trends and forecast.

C. Kearns 0.1 Reviewed Debtors’ most recent liquidity update.

R. Wright

R. Wright 1.7 Prepared a report for the Committee re: analysis of actual and
prospective investment account balances.

Prepared a report for the Committee re: liquidity forecast update. _

Reviewed a new draft of the stipulation for the expiration of the
challenge period related to cash collateral.

_ Prepared discussion outline for upcoming UCC call re: liquidity issues.

Participated in weekly update call with UCC to discuss Company's
8/20/15 cash flow forecast.

R. Wright

_ Participated in a‘call with the Committee: re? liquidity update.

D. Demko 2.8 Prepared a weekly 13-week cash forecast schedule for the forecast
ending 8/28/15.

: Emaled w with Debtor

D. Demko

D. Demko

‘the Committ ee.

D. Demko 2.8 Updated natural gas futures curves with recent prices as part of a
liquidity presentation.

1.0 _ Read reply of the Debtors to the Committee's cash collateral obj

Berkeley Research Group, LLC Page 20 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 21 of 27

Date Professional Hours Description

19. Cash Flow/Cash Management Liquidity

9/3/2015 R. Wright 0.6 Read reply of Wells Fargo to the Committee's cash collateral objection.

9/4/2015. D. Demko © a 29 Prepareda weekly 13-we
ae co : sending 9/4/15, _ =
9/4/2015 D. Demko 2.9 Prepared updated liquidity schedules for the forecast ending 9/4/15.
9/8/2015 sO. Demko 2 : 28 ____ Prepared a cash roll forward schedule for the forecast ending 9/4/15.
9/8/2015 D. Demko 2.6 Prepared updated liquidity commentary for the forecast ending 9/4/15.
9/8/2015 R. Wright 19 poe a report for ke Committee re: tau forecast toe
version 45.

9/8/2015 C. Kearns 0.2 Reviewed summary of latest weekly liquidity update.

9/9/2015 D. Demko. 28 Prepared an “updated forecast bridge schedule as part of a vii

presentation for the Committee.

9/9/2015 D. Demko 2.7 Prepared QRI budget to actual commentary as part of a liquidity
presentation for the Committee.

9/9/2015 _-D. Demko

9/9/2015 0.8 Reviewed Debtors’ cash flow performance.

9/10/2015 Ds fo Pepsca ORC] budget to actual commentary as part ofa liquidity.
. Preeniavicn for the Committee.

9/10/2015 D. Demko 2.8 Prepared a QRCI budget to actual schedule as part of a liquidity

presentation for the Committee.

9/10/2015. D.Demko __ 27 - oelis. matural gas price outlook presentation in: order t c
a _ revise a liquidity presentation for the Committee.
9/10/2015 R. Wright 1.6 Prepared a report for the Committee re: liquidity update.
9/10/2015 S M. Shankweiler 2 _ / 5 . - 1400 Reviewed most recent liquidity analysis provided by Debiors for
ee So presentation to UCC. ee
9/11/2015 D. Demko 2.8 Prepared.a weekly 13-week cash forecast schedule for the forecast

ending 9/11.
9/11/2015 -R. Wright |
9/11/2015 J. Song

9/11/2015

Berkeley Research Group, LLC Page 21 of 27
Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 22 of 27

Date Professional Hours Description

19, Cash Flows lesh Meanegement Liculdiiy

9/11/2015 R. Wright 0.8 Reviewed weekly liquidity forecast update from the Debtors.

9/11/2015 - . : Reviewed updated liquidity forecast.

9/14/2015 D, Demko 27 Reviewed the motion to extend the challenge period deadline in order
to stay updated on the most recent case filings.

9/15/2015

9/15/2015 D. Demko 2.7 Reviewed the QRCI financial statements ts of June 2015 to review

Canadian financial performance.

9/15/2015 M.Shankweiler

_ Commented on liquidity portion of weekly status report UCC,

9/15/2015 J. Song 1.0 Reviewed Debtors' liquidity trends as of 9/10/15 to assess state of
operations.

0.8 Reviewed Debtors’ delineation: of cash flows to sine

9/15/2015 J. Song
Oe - recoveries to the UCC.

9/16/2015 D. Demko 2.8 Prepared June lease operating statement commentary as part of an
update presentation for the Committee.

9/16/2015 25 - Revised the updated liquidity commentary for edits received fon
professional staff leadership. _
9/16/2015 R. Wright 1.8 Prepared a report for the Committee re: liquidity forecast update.

20s -R Wright Prepared a report fo

9/16/2015 M. Shankweiler 1.6 Commented on report to UCC re: liquidity update issues.

5/16/2015 _ R. Wright : _ Prepared a report for the Committee re: key cash flow variances.

9/16/2015 R. Wright 1.0 Prepared a report for the Committee re: lease operating statement for
June.

9/16/2015 _ J. Song 10  —__ Reviewed liquidity update presentation for UCC.

9/16/2015 C. Kearns 0.3 Reviewed weekly cash update.

Revised the forecast bridge schedule fc for edits received from

9/17/2015 D, Demko
: professional staff leadership.

9/17/2015 D. Demko 2.8 Revised the capital expenditures commentary for additional
information received from the Debtors.

27 Revised the lease operating statement commentary fe

9/V7/2015
Q : information received from the Debtors.

Berkeley Research Group, LLC Page 22 of 27
invoice for the 8/1/2015 - 9/30/2015 Period

Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 23 of 27

Date Professional Hours Description

19, Cash Flow/Cash Managen

9/17/2015 R. Wright 2.2 Prepared a report to the Committee re: liquidity forecast bridge analysis
from previous forecast.

9/17/2015 M. Shankweiler Piepaed: discussion putting ¢ Te: bout for discussion wil :
on weekly status call.

9/17/2015 C. Kearns 0.4 Reviewed report for UCC on cash update and other matters.

9/18/2015 D. Demko ; 28 Prepared a weekly 13-week cash forecast schedule for the forecas :

ending 9/18. a oS

9/18/2015 R. Wright 1.9 Reviewed weekly cash flow reporting package.

982015 RR Weight Prepared a report for the Committee re: liquidit

9/18/2015 R. Wright Continued to review weekly cash flow reporting package.

9/21/2015 D. Demko . a Prepared updated ince epoumentary for the forec

9/21/2015 D,. Demko 2.8 Prepared updated liquidity schedules for the forecast ending 9/18.

9/21/2015 oe 13 : Reviewed Debtors’ latest od flow. forecast as of 9/17 |

9/21/2015 M. Shankweiler 0.6 Reviewed most recent liquidity forecast information provided by
Debtors.

9/21/2015 M Shaciiweiler 0.2 Emailed Moelis re! liquidity issues.

9/22/2015 R. Wright 1.3 Prepared a report for the Committee re: liquidity update.

9/22/2015 4 ReWaeht : 0.9 : Reviewed the variance report of actual cash flows versus budge

9/22/2015 M. Shankweiler 0.6 Analyzed most recent liquidity analysis prepared by Debtors.

9/22/2015. - ‘Reviewed latest liquidity analysis.

9/23/2015 Prepared investment account activity commentary as part of a liquidity
presentation.

9/23/2015 Prepared an investment account activity schedule for unencu be

a cash flows from March through: August.

9/24/2015 D. Demko 2.9 Prepared a cumulative actual and forecasted cash balances change from
the petition date through the forecast ending 9/25.

9/25/2015 5D Demko == Prepared updated figuidity slides for the forecast en ing 9/.

presented to the Commute: :

9/25/2015 D. Demko 2.8 Prepared a weekly 13-week cash forecast schedule for the forecast
ending 9/25.

Berkeley Research Group, LLC Page 23 of 27

Invoice for the 8/1/2015 - 9/30/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 24 of 27

Date Professional Hours Description

19. Cash Flow/Cash Management Liquidity

9/25/2015 J. Song — Ag _ Reviewed Debtors’ late St sh flow forecast as of 9/:
9/28/2015 R. Wright 2.6 Prepared a report for the Committee re: liquidity forecast update for
Canadian entity.

97282015 D.Demko = 26 Prepared updated liquidity commentary for the forecast ende \
. ee be presented to the Committee.
9/28/2015 D. Demko 2.3 Updated the cumulative investment account analysis for the forecast
ending 9/25.

9/30/2015 =D. Demko QC : Ae OT . Reviewed ape contract amendment in connection wi
ee 6 updated liquidity analysis.

Task Code TotalHours 308.5

|20. Projections/Business Plan/Other

8/25/2015 M. Shankweiler 0.3 Reviewed updated data request list re: business plan.

8/26/2015 = M. Lau

8/27/2015 C. Kearns 0.6 Participated in call with UCC regarding business plan process and
analysis.

8/27/2015
ee "and one iesues.

8/28/2015 Reviewed the Debtors' business plan in order to prepare an update

presentation.

‘Prepared ; a business plan, assumptions schedule in connection i
business plan overview presentation for the Commulice

8/28/2015

8/28/2015 D. Demko 2.6 Prepared a business plan overview presentation outline in connection
with a business plan overview presentation for the Committee.

8/28/2015 Y nalyze the Debtors’ business plan pre
8/28/2015 J. Song 2.3 Analyzed Debtors’ business plan to assess scasonability.
8/28/2015, ; : a
8/28/2015

8/28/21

8/28/2015 R. Wright 1.8 Participated in a call with the Debtors (V. LaGatta) re: business plan
. presentation.
Berkeley Research Group, LLC Page 24 of 27

Invoice for the 8/1/2015 - 9/80/2015 Period
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 25 of 27

Date Professional Hours

Description

| 20. Projections/Business Plan/Other

8/28/2015 C.Kearns VA

8/28/2015 M. Shankweiler 1.2

8/28/2015 R. Wrig

8/28/2015 C. Kearns 0.9

8/28/2015 -M. Shankweiler 07
8/28/2015  M. Shankweiler 0.6
gose0is.. Mla 08
8/29/2015 D. Demko 2.7
g300015. C Kean = = Od
8/31/2015 M. Shankweiler 2.9
B312015

8/31/2015  D. Demko 2.7

8/31/2015 -R. Wright

18

8/31/2015 M. Shankweiler 1.3

8/51/2015 -

8/31/2015 M. Shankweiler 0.5
8/31/2015 lan oo ' 05
8/31/2015 J. Song 0.5
gino D. Demko oF

Berkeley Research Group, LLC
Invoice for the 8/1/2015 - 9/30/2015 Period

professionals (Akin Gump) re: business Plan Presentation.

aya the Doon business plan iecniaton | Te: uly evels

« Ennailed with Moelis re: business plan related matters.

_ Prepared a business ole cori and tik side. as s Pa of an

_ Analyzed Quicksilver business plan re: EBITDA and FCF calcula

Participated. in a
business plan.

Prepared abd
__ Debtors.

Participated in call with Debtors and all advisors a presentation f .
Debtors business Pian

Participated in call with Debtors (G. Darden, V. LaGatta) and

Reviewed Debtors’ presentation on business plan in advance of call.

Reviewed business plan provided by Debtors in preparation for
conference call presentation with Debtors.

Developed discussion outline for discussion with UCC re: business
plan presentation.

g Analyzed natural gas and West Texas intermediate or tues prices a

through 2020 as of 7/31/15.

Continued reviewing the Debtors’ business plan as part of an update
presentation for the Committee.

Continued to review Debtors’ business plan presentation.

senlation for the Conunittee.

Revised a business plan assumptions schedule for additional
information received from the Debtors.

Contiriued to review Debtors’ business plan presentation in preparation
for detailed question and answer meeting with Debtors.

Participated in cali with Counsel (A. Rosenberg) and Moelis (R.
Flachs) re: business plan diligence issues.

Particypated in call with Paul Weiss and Moelis to discuss business
plan and next steps. :

Participated in call with UCC advisors (Paul Weiss, Moelis) to discuss
Debtors’ business plan.

Page 25 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 26 of 27

Date Professional Hours

Description

20. Projections/Susiness Plan/Other

9/1/2015 M. Shankweiler 2.2

9/1/2015. C, Kearns ie

9/1/2015 RR. Wright 16
9/1/2015 16
9/1/2015 J. Song 1.5
9/1/2015

9/2/2015 M. Shankweiler 1.3
popes Ckems DD
9/3/2015 J. Song 2.3
9/3/2015  M.Shankweiler = (ssid
9/3/2015 C. Kearns 1.4

9/3/2015

9/3/2015 C. Kearns 0.8

93/2015 = M. Shankweile

9/3/2015 J. Song 0.3

9/8/2015 - -Shankweiler

9992015 D. Demko 2.7
9/9/2015. M. Shankweiler : ok
9/9/2015 M. Shankweiler 0.4

9/10/2015 R. Wright

9/11/2015 R. Wright 1.1

Berkeley Research Group, LLC
invoice for the 8/1/2015 - 9/30/2015 Period

Participated in a call with the Debtors (V. LaGatta) Te: business plat

a) Met with: Moelis (B. Lastrepes, K -Voelte) re: case strategy based on :

Met with UCC professionals prior to mee ti

Reviewed Debtors’ business plan presentation re: potential risks.

: Reviewed Moelis report re: business plan.

Developed questions for discussion with Debtors re: business plan.

Rae

5 plan

Analyzed Quicksilver business plan.

Participated in due diligence session with Debtors for business plan
questions and answers.

Developed talking points for discussion with UCC re: business plan.

Emailed with Committee members on business plan.

Participated in meeting with the Debtors and UCC to discuss business
plan and restructuring plan.

Met with Debtors and UCC re: business plan presentation. Se : S

Participated in meeting with Debtors and Committee to review business
plan and next steps in the case.

current business plan outlook.

Reviewed Debtors’ business plan re: key assumptions.

re: business plan presentation.

Participated in meeting with UCC to discuss next steps in light of
business plan.

Reviewed the Moelis preliminary business plan evaluation presentation.

presentation to UCC re: strategy issues.

Commented on revised presentation to UCC re: strategy issues.

Participated in a call with the Committee re: business plan.

Page 26 of 27
Case 15-10585-LSS_ Doc 861-2 Filed 11/16/15 Page 27 of 27

Date Professional Hours Description
20. Projections/Business Plan/Other
oe /201 5 : - R Wright ee 06 S 2 Reviewed Moelis report re: buses plan.
9/14/2015 D. Demko 2.9 Reviewed the QRCI second quarter PV-10 analysis to review Canadian
valuation.
9/15 201 . ae . 05 - Reviewed diligence information pievided by the Debtors re: OR S
9/22/2015 J. Song 1.8 Reviewed Debtors’ business projections (Case A).
9/22/2015 S ] a Reviewed Debtors! business projections (Case B).
9/22/2015 1.2 Analyzed potential debt sizing alternatives based on business plan.
9/22/2015 ou
9/24/2015 M. Shankweiler 0.5 Participated in call with Drivetrain (S. Wells) and Moelis re: high level
plan strategy issues.
Task Code Total Hours 65.0
Total Hours 684.6

Berkeley Research Group, LLC

Page 27 of 27

Invoice for the 8/1/2015 - 9/80/2015 Period
